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                                     IN THE
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARCUS RILEY, as Independent                        )
Administrator to the estate of CYNTHIA              )
SUDOR, deceased,                                    )
                                                    )
                             Plaintiff,             )
                                                    )
              vs.                                   )      Case No.
                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )      JURY DEMANDED
                             Defendant.             )

                                   COMPLAINT AT LAW

       NOW COMES Plaintiff, MARCUS RILEY, as independent administrator to the estate of

CYNTHIA SUDOR, by and through his attorney, Dean J. Caras, and complaining of Defendant,

UNITED STATES OF AMERICA, states as follows:

                                      INTRODUCTION

       1.     This is an action against the Defendant, United States of America, under the

Federal Tort Claims Act, (28 U.S.C.§2671, et. seq.) and 28 U.S.C §1346(b)(1), for negligence

and professional malpractice in connection with medical care provided to decedent, Cynthia

Sudor, by Erika Searles, M.D. at Advocate Trinity Hospital, Chicago, IL.

       2.     The claims herein are brought against the Defendant pursuant to the Federal Tort

Claims Act (28 U.S.C.§2671, et. seq.) and 28 U.S.C §1346(b)(1), for money damages as

compensation for personal injuries caused by the Defendant's negligence.

       3.     Plaintiff, Marcus Riley, as independent administrator to the estate of Cynthia

Sudor, has fully complied with the provisions of 28 U.S.C.§2675 of the Federal Tort Claims Act

("FTCA"). Standard Form 95 attached as Exhibit 1.

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       4.      This suit has been timely filed, in that Plaintiff Riley timely served notice of his

claim on the Department of Health and Human Services less than sixty days from the dismissal

of civil action in the case of Marcus Riley, as Independent Administrator of the estate of Cynthia

Sudor v. Advocate Trinity Hospital, et. al. with case number 17-cv-07973 for failure to exhaust

administrative remedies pursuant to 28 U.S.C. §2679(d)(5).

       5.      Plaintiff Riley is now timely filing this Complaint pursuant to 28 U.S.C. §2401(b)

after receiving the Department of Health and Human Services March 22, 2018 notice of denial of

the administrative tort claim. Administrative Tort Claim Denial Letter attached as Exhibit 2.

                          PARTIES, JURISDICTION, AND VENUE

       6.      Plaintiff, Marcus Riley, is the duly appointed Independent Administrator of the

Estate of Cynthia Sudor (the "decedent"), having been appointed Independent Administrator by

the Probate Division of the Circuit Court of Cook County on January 24, 2017. This action is

brought by Marcus Riley in his capacity as Independent Administrator of the Estate of Cynthia

Sudor, on behalf of the Estate and on behalf of the survivors, Janiyah Sudor, Marcus Riley Jr.,

Marquis Riley, and Makayla Sudor, the four biological minor children of the decedent.

       7.      Defendant, United States of America, is subject to suit for a death caused by the

negligent and wrongful acts and omission of the employees of the Government while acting

within the course and scope of their office or employment, under the circumstances where the

Defendant, if a private person, would be liable to the Plaintiff, pursuant to the FTCA.

       8.      That at all times relevant herein, Cynthia Sudor, deceased, was an individual

residing in the City of Chicago, County of Cook, State of Illinois.




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        9.      Defendant, United States of America, through its agency, Department of Health

and Human Services, employed Ericka Searles, M.D. at Chicago Family Health Center who is a

licensed medical doctor.

        10.     At all time relevant to this Complaint, Ericka Searles, M.D. held herself out to the

Decedent and eligible beneficiaries, as a provider of high quality health care services, with the

expertise necessary to maintain the health and safety of patients like the Decedent.

        11.     At all times relevant to this Complaint, Ericka Searles, M.D. was employed by

and/or acting on behalf of Defendant. Furthermore, the Defendant is responsible for the

negligence acts of their employees and agents under respondeat superior.

        12.     Jurisdiction is proper under 28 U.S.C. §1346(b)(1).

        13.     Venue is proper under 28 U.S.C. §1402(b) in that all, or a substantial part of the

acts and omissions forming the basis of these claims occurred in the Northern District of Illinois.

                                   FACTUAL ALLEGATIONS

        14.     That on or about May 25, 2015, and at all times relevant thereafter, the deceased

presented herself to Advocate Trinity Hospital ("Advocate") in Chicago, IL for medical care and

treatment. While undergoing treatment at Advocate, decedent was under the care and treatment

of ERICKA SEARLES, M.D., a licensed physician and employee of Defendant, United States of

America.

        15.     That on that date, Decedent, presented with signs and symptoms of a probable

urinary tract infection; including, vaginal bleeding, trace leukocyte esterase, and few bacteria on

urinalysis.

        16.     That on that date, Defendant's employee, ERICKA SEARLES, M.D., failed to

order additional tests including but not limited to a urine culture, failed to treat the urinary tract



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infection with, but not limited to, antibiotics, and discharged Cynthia Sudor from Advocate

Trinity Hospital despite her exhibiting obvious signs and symptoms of urinary tract infection.

        17.    As a direct and proximate result of ERICKA SEARLES, M.D.'s negligence,

CYNTHIA SUDOR died on July 6, 2015.

        18.    Cynthia Sudor endured significant conscious pain and suffering as a result of

ERICKA SEARLES, M.D.'S negligence and the Decedent’s next of kin suffered great losses of

personal and pecuniary nature, including the loss of companionship and society of the Decedent.

   COUNT I: WRONGFUL DEATH AGAINST THE UNITED STATES OF AMERICA

        19.    That on or about May 25, 2015, Defendant had a duty to provide ordinary care,

and to exercise that standard and degree of care and skill required of heath care providers,

consistent with the expertise that the Defendant presented to the community at large.

        20.    At all times relevant to this Complaint, the Defendant had a duty to hire

competent operators, administrators, employees, agents and staff in order to meet its standards of

quality of care of its patients, including Decedent. The Defendant knew, or should have known,

that the medical staff of the facility was not properly trained, and/or supervised, in a manner

necessary to provide a level of care for Decedent that met all applicable legal requirements; that

demonstrated the standard and degree of care and skill required of competent health care

providers; and was consistent with the expertise that the Defendant presented to the community

at large.

        21.    Defendant's employee, ERICKA SEARLES, M.D., owed a duty to CYNTHIA

SUDOR to possess and apply the knowledge and use the skill and care ordinarily used by

reasonably well qualified medical doctors practicing in the same or similar localities under the

circumstances similar to the facts relevant herein.



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        22.     The Defendant breached its duty by negligently hiring incompetent, inexperienced

and/or unqualified operators, administrators, employees, agents and staff.

        23.     The Defendant had a duty to retain only competent and adequately trained

operators, administrators, employees, agents and staff in order to meets it standards of quality of

care of its patients, including Decedent.

        24.     That Defendant breached its duty by negligently retaining incompetent,

inexperienced, unqualified and/or inadequately trained operators, administrators, employees,

agents and staff.

        25.     As a direct and proximate result of Defendant's negligence, Cynthia Sudor died on

July 6, 2015.

        26.     Decedent, CYNTHIA SUDOR, left surviving as her next of kin four biological

minor children, Janiyah Sudor, Marcus Riley Jr., Marquis Riley, and Makayla Sudor.

        27.     As a direct and proximate result of the death of Cynthia Sudor, the Decedent’s

aforesaid next of kin suffered great losses of personal and pecuniary nature, including the loss of

companionship and society of the Decedent.

        28.     The acts and/or omission set forth above would constitute a claim under the law

of the State of Illinois; specifically, the Illinois Wrongful Death Act, 740 ILCS 180/1 et seq.

        29.     The Defendant is liable pursuant to the 28 U.S.C. 1346(b)(1).

    COUNT II: VICARIOUS LIABILITY, RESPONDEAT SUPERIOR: WRONGFUL
                  DEATH AGAINST ERICKA SEARLES, M.D.

        30.     Plaintiff realleges and reincorproates each and every allegations above as if fully

set forth herein.

        31.     At all times relevant to this case, the directors, officers, operators, administrators,

employees, agents, staff were employed by and/or acting on behalf of the Defendant.

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       32.       At all times to this Complaint, the directors, officers, operators, administrators,

employees, agents, staff acted within their respective capacities and scopes of employment for

the Defendant.

       33.       The directors, officers, operators, administrators, employees, agents, and staff;

including, but not limited to, ERICKA SEARLES, M.D., negligently and/or reckless, direct and

proximately caused the death of Cynthia Sudor, including both acts of omission and acts of

commission.

       34.       Defendant's employee, ERICKA SEARLES, M.D., owed a duty to CYNTHIA

SUDOR to possess and apply the knowledge and use the skill and care ordinarily used by

reasonably well qualified medical doctors practicing in the same or similar localities under the

circumstances similar to the facts relevant herein.

       35.       Specifically, that despite the aforesaid duty, Defendant's employee, ERICKA

SEARLES, M.D., carelessly and negligently provided medical care to the deceased in one or

more of the following ways

                 a.      Failed to appreciate signs and symptoms of a probable urinary tract
                        infection; including, vaginal bleeding, trace leukocyte esterase and few
                        bacteria on urinalysis;

                 b.      Failed to order additional tests including but not limited to a urine culture;

                 c.      Failed to treat the urinary tract infection with, but not limited to,
                        antibiotics;

                 d.      Discharged Cynthia Sudor despite her exhibiting obvious signs and
                        symptoms of urinary tract infection.

       36.       As a direct and proximate result of one or more of the aforementioned reckless or

negligence acts and omissions of Defendant's employee, ERICKA SEARLES, M.D, CYNTHIA

SUDOR died on July 6, 2015.



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        37.     Decedent, CYNTHIA SUDOR, left surviving as her next of kin four biological

minor children, Janiyah Sudor, Marcus Riley Jr., Marquis Riley, and Makayla Sudor.

        38.     As a direct and proximate result of the death of Cynthia Sudor, the Decedent’s

aforesaid next of kin suffered great losses of personal and pecuniary nature, including the loss of

companionship and society of the decedent.

        39.     The acts and/or omission set forth above would constitute a claim under the law

of the State of Illinois; specifically, the Illinois Wrongful Death Act, 740 ILCS 180/1 et seq.

        40.     The Defendant is liable pursuant to 28 U.S.C. 1346(b)(1).

                                       COUNT III: SURVIVAL ACTION

        41.     Plaintiff restates and realleges paragraphs 1-40 as if fully alleged herein.

        42.     That as a direct and proximate result of one or more of the aforesaid acts or

omissions of all of Defendant and its employees as stated in Counts I and II, decedent

CYNTHIA SUDOR did suffer serious injuries of a personal and pecuniary nature, including, but

not limited to, great pain and suffering before her death, subjecting Defendant and its employees

to liability pursuant to The Illinois Survival Act, 755 ILCS 5/27-6.

        43.     The acts and/or omission set forth above would constitute a claim under the law

of the State of Illinois.

        43.     The Defendant is liable pursuant to the 28 U.S.C. 1346(b)(1).

                                     PRAYER FOR RELIEF

        WHEREFORE, MARCUS RILEY, as independent administrator of the estate of

CYNTHIA SUDOR, deceased, prays for judgment in his favor and against Defendant, UNITED

STATES OF AMERICA, as follows:




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       1)      Losses of personal and pecuniary nature, including the loss of money, benefits,

goods, services, companionship, grief, sorrow, and mental suffering of the next of kin, and loss

of society pursuant to the Illinois Wrongful Death Act, 740 ILCS 180/1 et. seq.;

       2)      Conscious pain and suffering, loss of earnings, and medical expenses pursuant to

The Illinois Survival Act, 755 ILCS 5/27-6;

       3)      Costs and attorneys' fees incurred in this civil action, together with such further

additional relief at law or in equity that this Court may deem proper.



                                                      Respectfully Submitted,

                                                      /s/ Dean J. Caras
                                                      Dean J. Caras
Dean J. Caras
Attorney for Plaintiff
320 W. Illinois St., Suite 2112
Chicago, IL 60654
Phone: 312-494-1500
dean.caras@deancaras.com
ARDC No. 6191319




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                            Pl. Exhibit 2
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